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                    EXHIBIT 7
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  From:            Sudhakar Vidiyala
  To:              Vasu Sabbella
  Subject:         FW: DEA Request for Additional Information for 2023 application submitted by Ascent Pharmaceuticals
                   RA0448503
  Date:            Monday, September 25, 2023 9:41:50 AM
  Attachments:     image001.jpg




  Thank You,
  Sudhakar Vidiyala

  From: Strait, Matthew J. [mailto:Matthew.J.Strait@dea.gov]
  Sent: Thursday, October 27, 2022 4:37 PM
  To: Sudhakar Vidiyala <sudhakar@ascentpharm.com>
  Cc: Harper-Avilla, Stacy <Stacy.Harper-Avilla@dea.gov>; Treasure-McDowell, Susan <Susan.Treasure-
  McDowell@dea.gov>
  Subject: DEA Request for Additional Information for 2023 application submitted by Ascent
  Pharmaceuticals RA0448503

  Mr. Vidiyala:

  Based on ongoing discussions with DEA Field Investigators, DEA continues to seek information from
  Ascent Pharmaceuticals regarding the accuracy of its records relating to the manufacture, inventory
  and use of schedule II controlled substances. This information is relevant to your quota requests
  because it may be helpful in detecting or preventing diversion. See 21 C.F.R. 1303.12(b). Your
  applications remain under review at this time.

  Sincerely,
  Matthew Strait
  Deputy Assistant Administrator
  DEA Diversion Control Division



  From: Sudhakar Vidiyala <sudhakar@ascentpharm.com>
  Sent: Wednesday, October 26, 2022 10:04 AM
  To: Strait, Matthew J. <Matthew.J.Strait@dea.gov>
  Cc: Harper-Avilla, Stacy <Stacy.Harper-Avilla@dea.gov>; Treasure-McDowell, Susan <Susan.Treasure-
  McDowell@dea.gov>
  Subject: [EXTERNAL] RE: [EXTERNAL] RE: DEA Request for Additional Information for 2023
  application submitted by Ascent Pharmaceuticals RA0448503

  Dear Matthew,
  Can you please update me on the status of our application as we are approaching end of the
  calendar year. We lost more than 40 employees so far without work and will be loosing more people
  in next few weeks if we don’t provide work. I have been requesting a call or in person meeting to go
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  over on the issues, but unfortunately you never responded to those requests. Please call me or
  arrange in person meeting to resolve the issues. I appreciate your prompt response on my request

  Thank You,
  Sudhakar Vidiyala

  From: Sudhakar Vidiyala [mailto:sudhakar@ascentpharm.com]
  Sent: Friday, October 21, 2022 9:02 AM
  To: 'Strait, Matthew J.' <Matthew.J.Strait@dea.gov>
  Cc: 'Harper-Avilla, Stacy' <Stacy.Harper-Avilla@dea.gov>; 'Susan.Treasure-McDowell@dea.gov'
  <Susan.Treasure-McDowell@dea.gov>
  Subject: FW: [EXTERNAL] RE: DEA Request for Additional Information for 2023 application submitted
  by Ascent Pharmaceuticals RA0448503

  Dear Matthew,
  Please refer to the following facts to consider to issue quota for 2022:
        Based on our forecast / usage, DEA issued quota to API suppliers for Amphetamines and
        Methylphenidate APIs
        They manufactured API for our need and sitting with API since few months
        Since Ascent doesn’t have quota, they are waiting for our quota as they manufactured based
        on our forecast and usage. Please note that they cannot supply API to other manufacturer as
        the API supplier should be qualified and get approved by FDA
        In this case, they do not have other manufacturer qualified, in result they cannot supply to
        others
        If we have quota, we can resolve at some level of drug shortage situation as quickly as
        possible for both Amphetamine and methylphenidate products
        Please note that we developed OROS Technology for Concerta product similar to brand
        technology, is being well accepted by patients unlike other majority generic players. This is
        one of the reason to have considerable market share for Concerta
        We also understand Opiod crisis but our usage of both Oxycodone and Hydrocodone are
        negligible compared to aggregate quota approved by DEA.
        We have been cooperative with DEA on providing any information being requested within
        short period of time

  We request you to consider above facts and take decestion as quickly as possible.
  Thank You,
  Sudhakar Vidiyala

  From: Venkat Jayaraman [mailto:venkat@ascentpharm.com]
  Sent: Friday, October 21, 2022 7:28 AM
  To: Sudhakar Vidiyala <sudhakar@ascentpharm.com>
  Cc: Vasu Sabbella <vasu@ascentpharm.com>; Meghana Vidiyala <meghana@ascentpharm.com>
  Subject: FW: [EXTERNAL] RE: DEA Request for Additional Information for 2023 application submitted
  by Ascent Pharmaceuticals RA0448503
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  Dear Sir,
  Good Morning. Below response received for 2022 quota request.

  Thanks
  Best Regards
  Venkat.J


  From: Treasure-McDowell, Susan [mailto:Susan.Treasure-McDowell@dea.gov]
  Sent: Friday, October 21, 2022 7:18 AM
  To: Venkat Jayaraman <venkat@ascentpharm.com>
  Subject: RE: [EXTERNAL] RE: DEA Request for Additional Information for 2023 application submitted
  by Ascent Pharmaceuticals RA0448503

  Mr. Jayaraman,

  Your firm’s 2022 pending quotas for the listed request ID are still being processed and reviewed. As
  stated in the July 1, 2022 letter from DEA, substances used to manufacture ADHD medications are
  undergoing extra investigation during the quota review process. The information your firm and
  others have provided is being reviewed in effort to evaluate the ADHD medication manufacturing
  space. You may contact Deputy Assistant Administrator Matthew J. Strait, Office of Diversion Control
  Regulatory, at matthew.j.strait@dea.gov with comments, questions or concerns.

  Regards,

  Susan Treasure-McDowell
  Drug Science Specialist
  UN Reporting and Quota Section
  Diversion Control Division
  Drug Enforcement Administration



  From: Venkat Jayaraman <venkat@ascentpharm.com>
  Sent: Friday, October 21, 2022 6:54 AM
  To: Treasure-McDowell, Susan <Susan.Treasure-McDowell@dea.gov>
  Subject: [EXTERNAL] RE: DEA Request for Additional Information for 2023 application submitted by
  Ascent Pharmaceuticals RA0448503


  Hi Susan Treasure-McDowell,
  Good Morning. We acknowledge the receipt of your email and provide the response within the
  timeline.
  Can you please provide an update on pending Quota for the rest of the year 2022 for the
  below mentioned request Id.
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       S.No     Material Name       Quota Request ID
         1      D,L Amphetamine           148756
         2      D Amphetamine             148755
         3      Hydrocodone Hcl           148876
         4      Oxycodone Hcl             148761
         5      Methylphenidate           148877



  Thanks
  Best Regards
  Venkatasubramanian Jayaraman
  Director- Head Quality and
  DEA Compliance, Security.


   Ascent Pharmaceuticals, Inc.
  400 South Technology Drive
  Central Islip, NY 11722 USA
  Phone: (631) 881-4614 Ex. 1405
  Fax: (631) 881-4615
  E-Mail: venkat@ascentpharm.com
  Cell : (631)-617-7333
  From: Treasure-McDowell, Susan [mailto:Susan.Treasure-McDowell@dea.gov]
  Sent: Wednesday, October 19, 2022 4:28 PM
  To: VENKAT@ASCENTPHARM.COM
  Subject: DEA Request for Additional Information for 2023 application submitted by Ascent
  Pharmaceuticals RA0448503

  Dear registrant,

  This email is in reference to the 2023 application submitted for procurement quota by Ascent
  Pharmaceuticals, Inc. RA0448503. In order to continue processing your application, the following
  information is needed for:

  1.          D,L-AMPHETAMINE
  2.          D-AMPHETAMINE (FOR SALE)
  3.          METHYLPHENIDATE (FOR SALE)
  4.          DEXMETHYLPHENIDATE (FOR SALE)
  5.          OXYCODONE (FOR SALE)
  6.          HYDROCODONE (FOR SALE)

  Please provide your 2022 Customer List with (YTD) year to date sales aggregated by DEA number (in
  excel format). The customer lists should have the DEA registration shown ONCE in the entire
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  document and the aggregated total sold to that DEA Number in gram base or kilogram base.

  Please respond to this email within 10 business days. Your request cannot be processed without this
  information. If the requested information is not received within 10 Business days, your request will
  not be processed and a denial letter will be issued.

  Regards,

  Drug Science Specialist
  UN Reporting and Quota Section
  Diversion Control Division
  Drug Enforcement Administration




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